             Case 1:17-cr-00232-EGS Document 153 Filed 01/16/20 Page 1 of 6



                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

    Plaintiff,

    v.                                                     Criminal Action No. 17-232-EGS

    MICHAEL T. FLYNN,

    Defendant.




                              SUPPLEMENTAL BRIEF
               IN SUPPORT OF MOTION TO WITHDRAW PLEA OF GUILTY

         Michael T. Flynn “Mr. Flynn” submits this supplemental brief to clarify and supplement

his Motion to Withdraw Plea of Guilty.

         To clarify the sequence of events, especially Mr. Van Grack’s responsibility for the redline

draft that deleted the assertion that Mr. Flynn “then and there knew” there were “false statements”

in the FARA registration form, ECF No. 151 at 12, also attached here as Exhibit 1 (highlighting

added). The defense provides the following emails (attached as Exhibits 2-4):

         •    Monday, Nov. 27, 2017, at 6:21 pm: Brandon Van Grack sent the proposed plea
              documents to Covington & Burling LLP (“Covington”) lawyers.

         •    Monday, Nov. 27, 2017, at 6:31 pm: Robert Kelner passed the draft plea documents
              to the Covington team.

         •    Tuesday, Nov. 28, 2017, there was no email traffic on these issues found even
              internally throughout Covington team members and Mr. Van Grack.

         •    Wednesday, Nov. 29, 2017, at 8:55 am: Brandon Van Grack sent Robert Kelner and
              Steve Anthony an updated, PDF redlined version of the plea documents, that deleted
              “as he then and there knew” (this deleted the only language that implicated Mr. Flynn
              with any knowledge of any “false statements” in the FARA registration when he signed
              it).

                                                  1
            Case 1:17-cr-00232-EGS Document 153 Filed 01/16/20 Page 2 of 6




        •    Wednesday, Nov. 29, 2017, at 7:49 pm: Brandon Van Grack wrote to Covington that
             he could not send the signed documents that night. 1

        The import of this is that the Special Counsel’s Office (“SCO”) and Mr. Van Grack in

particular knew full well that Mr. Flynn had consistently maintained that he did not know the

FARA filings were false when he signed them, and during the plea process, Mr. Flynn had refused

to sign a statement that said he did.

        Even though Mr. Van Grack and SCO deleted that crucial language themselves, and Mr.

Van Grack transmitted it back to Covington, Mr. Van Grack exploded at Mr. Flynn’s new counsel

in the EDVA when she advised that Mr. Flynn would not lie and testify that he knowingly and

intentionally signed a FARA registration containing any known “false statements.” Every step

Mr. Van Grack, Mr. Turgeon, and other prosecutors have taken against Mr. Flynn since that

moment has been retaliatory, vindictive, and in bad faith—including the government’s about-face

in its sentencing memorandum of January 7, 2020. 2

        Shockingly, this evinces the strong inference the prosecutors themselves conspired to cause

Mr. Flynn to make false statements in violation of 18 U.S.C. §1001, and they conspired and

encouraged the subornation of perjury as they tried to force Mr. Flynn to say he lied to his lawyers

when they knew their narrative was false and the FARA registration was correct.3



1
   This is the best information from the materials defense counsel have been able to review to date.
Counsel are dealing with eighteen hard drives and more than 318,000 documents. Counsel spent
the first two months cooperating with the EDVA. The defense has not had sufficient time to review
this massive file and brief all the issues it raises in defense of Mr. Flynn. If counsel discover any
additional or contradictory information, the defense will report it promptly.
2
    See ECF No. 151 at 12.
3
  “Whoever procures another to commit any perjury is guilty of subornation of perjury, and shall
be fined under this title or imprisoned not more than five years, or both.” 18 U.S.C. § 1622.

                                                 2
         Case 1:17-cr-00232-EGS Document 153 Filed 01/16/20 Page 3 of 6



        Even worse, at the same time prosecutors pressured Mr. Flynn to commit false statement

offenses4 and perjury, they held and suppressed the FBI 302 of Covington attorney Brian Smith

(and two of Robert Kelner’s) in which Mr. Smith advised Mr. Turgeon, James Gillis, FBI Agent

Alfredo, and Mr. Van Grack, under penalty of §1001, that Mr. Flynn told him information that

directly contradicted what the prosecution crafted and alleged as “false statements:”5

    •   “[A]ccording to Rafiekian, GULEN was the problem and was destroying the confidence in
        Turkey. In order to increase confidence in Turkey, Gulen had to be stopped.” Robert
        Kelner 302 of June 21, 2018; ECF No. 150-6 at 7.

    •   “RAFIEKIAN worked with an editor, Hank COX, to write the op-ed on GULEN.” Brian
        Smith 302 of June 21, 2018, ECF No. 150-5 at 7. “Flynn informed Smith it was his idea
        to write an op-ed. However Rafiekian wrote the first draft of the op-ed about Gulen.”
        Smith 302, ECF No. 150-5 at 7. And, per FLYNN, “RAFIEKIAN wrote the first draft of
        the op-ed about GULEN.” ECF. No. 150-5 at 7.

    •   “Smith was aware of the September 2016 meeting in New York City (NYC) where
        FLYNN and RAFIEKIAN met with Turkish government officials… The topic of GULEN
        was brought up by Turkish officials at the meeting.” Brian Smith 302 of 06/21/2018; ECF
        No. 150-5 at 5.6

4
   If Mr. Flynn had “admitted” what was demanded in his EDVA interview, he could have been
prosecuted for false statements as there was an FBI agent in the room who was creating a 302 for
each of his interviews. The defense received sixteen of those FBI 302s were among the 637 pages
just given to the defense on December 15, 2019. To have testified in the Rafiekian trial as
demanded would have created a perjury count, as the prosecutors could have then used Covington
lawyer Brian Smith to prove otherwise.
5
   The “false” statements the prosecutors allege in the Statement of Offense are either correct, not
attributable to Mr. Flynn, or created by the distortions and conflations of the prosecutors—and Mr.
Van Grack knew that also. See ECF No. 151-9. The prosecution also knew Covington interviewed
Flynn and Rafiekian separately, and there was no evidence of a conspiracy between them regarding
FARA. “Fast forward, I learned that Bijan had called here [Covington] to ask about FARA filing.
I didn’t know about that. He asked a couple of stupid questions that had nothing to do with FARA,
but just political nonsense. I didn’t find out about that until later on. Number one, that irritated me
because he thought about that. He knew what FARA was. I’ve never talked to him about this.” Mr.
Flynn to SCO and EDVA attorneys in June 14, 2018. ECF No. 151-11 at 8.
6
    Covington knew Mr. Flynn briefed the DIA on this meeting, and the government refused to
produce to Mr. Flynn the information about that briefing. The New York meeting was also
attended by former CIA Director James Woolsey (who was interviewed by SCO) (Brian Smith
302 of June 21, 2018, ECF No. 150-5 at 5)—and by former FBI Deputy Assistant Director Brian
                                                  3
         Case 1:17-cr-00232-EGS Document 153 Filed 01/16/20 Page 4 of 6




   •   Covington had emails since January 2017, including one stating: “Gentlemen – I just
       finished in Ankara after several meetings today with Min of Economy Zeybecki and MFA
       Cavusoglu. I have a green light to discuss confidentiality, budget and the scope of the
       contract.” ECF. No. 151-5 at 13.

       The government slipped the Smith and Kelner 302s in its sentencing filing of January 7,

2020. This is the first time the defense has seen them. This striking Brady material reveals that

the government knew since at least June 2018—long before Mr. Van Grack exploded at defense

counsel, threatened Mr. Flynn, and retaliated against him and his son—that Covington lawyers’

statements prove Mr. Flynn had indeed told the truth to his lawyers.

       These documents also show Mr. Van Grack knew there were no false statements in the

FARA filing as he either created them himself or wrongly attributed them to Mr. Flynn and/or

conflated “published” with “written by” in his prosecution. Mr. Smith’s (and Mr. Kelner’s)

statements were made under application of the same statute for which Mr. Flynn stands accused

of a felony.

       The prosecutors suppressed lawyers’ statements in FBI 302s directly contradict any

assertion of “false statements” by Mr. Flynn in the FARA filing.

       Dated: January 16, 2020

                                              Respectfully submitted,

                                              /s/ Sidney Powell
                                              Sidney Powell
                                              Molly McCann
                                              Sidney Powell, P.C.
                                              2911 Turtle Creek Blvd.,
                                              Suite 300
                                              Dallas, Texas 75219
                                              Tel: 214-707-1775
                                              sidney@federalappeals.com


McCauley who testified for the government in Rafiekian that the Turkish officials gave no
instructions. Brian Smith notes, Jan. 2, 2017; ECF No. 150-2.
                                                4
       Case 1:17-cr-00232-EGS Document 153 Filed 01/16/20 Page 5 of 6



W. William Hodes                   Admitted Pro Hac Vice
The William Hodes Law Firm         molly@federalappeals.com
3658 Conservation Trail            Admitted Pro Hac Vice
The Villages, Florida 32162
Tel: (352) 399-0531                /s/ Jesse R. Binnall
Fax: (352) 240-3489                Jesse R. Binnall
Admitted Pro Hac Vice              Lindsay R. McKasson
                                   Harvey & Binnall, PLLC
                                   717 King Street, Suite 300
                                   Alexandria, VA 22314
                                   Tel: (703) 888-1943
                                   Fax: (703) 888-1930
                                   jbinnall@harveybinnall.com
                                   lmckasson@harveybinnall.com
                                   Admitted Pro Hac Vice




                                     5
         Case 1:17-cr-00232-EGS Document 153 Filed 01/16/20 Page 6 of 6



                                CERTIFICATE OF SERVICE

       I hereby certify that on January 16, 2020, a true and genuine copy of Mr. Flynn’s Errata

Sheet was served via electronic mail by the Court’s CM/ECF system to all counsel of record,

including:


Jessie K. Liu, U.S. Attorney for the District of Columbia
Brandon L. Van Grack, Special Assistant U.S. Attorney
Jocelyn Ballantine, Assistant U.S. Attorney
555 4th Street, NW
Washington, D.C. 20530

                                                    Respectfully submitted,

                                                    /s/ Jesse R. Binnall
                                                    Jesse R. Binnall, VSB# 79272
                                                    HARVEY & BINNALL, PLLC
                                                    717 King Street, Suite 300
                                                    Alexandria, VA 22314
                                                    Tel: (703) 888-1943
                                                    Fax: (703) 888-1930
                                                    jbinnall@harveybinnall.com




                                                6
